 Case 2:08-cr-00327-SRC           Document 468          Filed 03/01/11    Page 1 of 1 PageID: 2367



  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY
                                                   x
  UNITED STATES OF ARICA
                                                                 CrimNo        08-327    (SRC)
        -   against       -




                                                                CONSENT ORDER TO MODIFY
  CHRISTOPHER DOSCHER,
                                                                   BAIL CONDITIONS
                 Defendants.

                                                  x

       THIS MATTER being brouaht before the
                                            Court on the anolication
 of George       J.   Abdv,     Esa.,   attorney for the             defendant,      Christopher
 Doscher,       in the above entitled matter and for
                                                     good cause shown;
       IT IS on th±s                    aa   of                      2011,
       ORDERED that the prior Order Setting
                                            Conditions of Release for
 the   above     named        defendant      dated       May   21,    2008     is   modified     as
 follows:

       1.       Defendant has been sentenced and bail
                                                      shall be exonerated;
       2.       Defendant’ s      passport    in       the   custody of      Pre—Trial   Services
                (“PTS”)       may be released;         and it is
       FURTHER ORDERED that Defendant’ s pass
                                              port in the custody cf ETS”
immediately be released to Defendan
                                    t upon the execution of this Order;




                                              t)OtLCQ                 LJ1.ttL ct
                                                             DtdLC                  uu.(IE.
Te undersicrned hereby :gives
his cons ant to the entry
of the above Order.


            8
A.W.S.A.    Eohda ii Vitvitsky
